                                         Case 1:22-cv-10922-NRB Document 14-4 Filed 01/13/23 Page 1 of 5

                                                EXHIBIT 4 - COMPARISON OF GEMINI AGREEMENTS

                                                                                                                                             Gemini Earn                  Gemini Earn
                                                 Modified Gemini Earn                                         Modified Gemini
    Note:          Gemini Earn Master                                                 Gemini                                               Program Terms &             Program Terms &
                                                    Master Loan                                               User Agreement
bold added for   Loan Agreement (MLA):                                        User Agreement (MUA):                                         Authorization           Authorization Agreement
  emphasis                                       Agreement (mMLA):                                               (mMUA):
                       Dec 1, 2022                                                Sep 28, 2022                                            Agreement (MEA):                  (mMEA):
                                                     Dec 23, 2022                                              Dec 14, 2022
                                                                                                                                            July 18, 2022                 Dec 14, 2022


                                                 National Arbitration
Arbitration                 AAA                    and Mediation                       JAMS                         NAM                          JAMS                         NAM
  Forum
                                                      ("NAM")


                 “If a dispute arises out of    “If a dispute arises out of    “[S]ettled solely and     “[S]ettled solely and          “Any controversy, claim,    “Dispute arising out of or
                 or relates to this             or relates to this            exclusively by binding     exclusively by binding         or dispute arising out of   relating to this
                 Agreement, or the breach       Agreement, or the breach      arbitration held in the    arbitration held in the        or related to this          Authorization Agreement or
                 thereof, and if said dispute   thereof, or the               county in which you        county in which you reside,    Authorization Agreement     your relationship with
                 cannot be settled through      relationship between the      reside, or another         or another mutually            or the breach thereof       Gemini — past, present, or
                 negotiation it shall be        Parties—past, present, or     mutually agreeable         agreeable location,            shall be settled solely     future — shall be settled
                 finally resolved by            future—and if said dispute    location, including        including remotely by way of   and exclusively by          solely and exclusively by
                 arbitration administered       cannot be settled through     remotely by way of video   video conference               binding arbitration held    binding arbitration held in
                 in the County of New           negotiation it shall be       conference administered    administered by National       in New York, New York,      the county in which you
                 York, State of New York        finally resolved by binding   by JAMS and conducted in   Arbitration and Mediation      administered by JAMS…”      reside, or another mutually
 Location        by the American                arbitration administered      English, rather than in    (‘NAM’) and conducted in                                   agreeable location,
                 Arbitration Association”       in the County of New          court.”                    English, rather than in                                    including remotely by way
                                                York, State of New York,                                 court".”                                                   of video conference
                                                or another location                                                                                                 administered by National
                                                mutually agreed upon                                                                                                Arbitration and
                                                between the Parties,                                                                                                Mediation…”
                                                rather than in court.”
                                                                                                                                                                    ADDED:
                                                                                                                                                                    “IF FOR ANY REASON THIS
                                                                                                                                                                    ARBITRATION CLAUSE
                                                                                                                                                                    BECOMES NOT APPLICABLE
                                                                                                                                                                    …YOU AND GEMINI: [ ]
                                                                                                                                                                    SUBMIT TO THE EXCLUSIVE
                                                                                                                                                                    JURISDICTION AND VENUE
                                                                                                                                                                    OF THE FEDERAL OR STATE
                                                                                                                                                                    COURTS LOCATED IN NEW
                                                                                                                                                                    YORK COUNTY, NEW YORK
                                                                                                                                                                    AND YOU AGREE NOT TO
                                                                                                                                                                    INSTITUTE ANY SUCH
                                                                                                                                                                    ACTION OR PROCEEDING IN

                                                                                            1
                                         Case 1:22-cv-10922-NRB Document 14-4 Filed 01/13/23 Page 2 of 5

                                                                                                                                                Gemini Earn                  Gemini Earn
                                                Modified Gemini Earn                                            Modified Gemini
    Note:          Gemini Earn Master                                               Gemini                                                    Program Terms &             Program Terms &
                                                   Master Loan                                                  User Agreement
bold added for   Loan Agreement (MLA):                                      User Agreement (MUA):                                              Authorization           Authorization Agreement
  emphasis                                      Agreement (mMLA):                                                  (mMUA):
                       Dec 1, 2022                                               Sep 28, 2022                                                Agreement (MEA):                  (mMEA):
                                                     Dec 23, 2022                                                Dec 14, 2022
                                                                                                                                                 July 18, 2022               Dec 14, 2022
                                                                                                                                                                       ANY OTHER COURT IN ANY
                                                                                                                                                                       OTHER JURISDICTION.”
 Location
 (cont’d)



                                                                            “User Agreement does not       “User Agreement does not                                    ADDED:
                                                                            permit class action or         permit class action or                                      “Authorization Agreement
                                                                            private attorney general       private attorney general                                    does not permit class action
                                                                            litigation or arbitration of   litigation or arbitration of                                or private attorney general
                                                                            any claims brought as a        any claims brought as a                                     litigation or arbitration of
Class Action                                                                plaintiff or class member      plaintiff or class member in                                any claims brought as a
  Waiver?                                                                   in any class or                any class or representative                                 plaintiff or class member in
                                                                            representative arbitration     arbitration proceeding or                                   any class or representative
                                                                            proceeding or litigation.”     litigation (“Representative                                 arbitration proceeding or
                                                                            (Bolded in original)           and Class Action Waiver”).                                  litigation (“Representative
                                                                                                           (Bolded in original; emphasis                               and Class Action Waiver”).”
                                                                                                           added)


                 “XVI. Entire Agreement:       “Nothing in this dispute     Agreement to “comprise         Agreement to “comprise the      “This Authorization         “This Authorization
                 This Agreement, each          resolution provision is      the entire understanding       entire understanding and        Agreement supersedes        Agreement supersedes any
                 exhibit referenced herein,    intended to supersede        and agreement entered          agreement entered into by       any other agreement         other agreement between
                 and all applicable Offered    the dispute resolution       into by and between you        and between you and             between the parties or      you and Gemini or any
                 Loan Terms constitute the     provisions in any separate   and Gemini Trust               Gemini Trust Company, LLC       any representations         representations made by
                 entire Agreement among        agreements between           Company, LLC as to the         as to the subject matter        made by one party to the    you or Gemini to each
                 the parties with respect to   Lender and Custodian,        subject matter hereof,         hereof, and supersede any       other, whether oral or in   other, whether oral or in
                 the subject matter hereof     including, but not limited   and supersede any and all      and all prior discussions,      writing, concerning         writing, concerning Loans.”
  Merger         and supersedes any            to, Gemini’s User            prior discussions,             agreements, and                 Loans”
  Clause?        prior negotiations,           Agreement and the            agreements, and                understandings of any kind                                  BUT
                 understandings and            Gemini Earn Terms and        understandings of any          (including without limitation   BUT
                 agreements”                   Authorization                kind (including without        any prior versions of this                                  “In case of conflict, the User
                                               Agreement.”                  limitation any prior           User Agreement), as well as     “In case of conflict, the   Agreement shall control.”
                                                                            versions of this User          every nature between and        User Agreement shall
                                               BUT                          Agreement), as well as         among you and us.”              control.”
                                                                            every nature between and
                                               “This Agreement, each        among you and us”              ADDED:
                                               exhibit referenced herein,                                  “EVEN IF YOU AND GEMINI
                                               and all applicable Offered                                  HAVE ENTERED INTO ANY

                                                                                            2
                                            Case 1:22-cv-10922-NRB Document 14-4 Filed 01/13/23 Page 3 of 5

                                                                                                                                                  Gemini Earn                  Gemini Earn
                                                   Modified Gemini Earn                                             Modified Gemini
      Note:          Gemini Earn Master                                                 Gemini                                                  Program Terms &             Program Terms &
                                                      Master Loan                                                   User Agreement
  bold added for   Loan Agreement (MLA):                                        User Agreement (MUA):                                            Authorization           Authorization Agreement
    emphasis                                       Agreement (mMLA):                                                   (mMUA):
                         Dec 1, 2022                                                 Sep 28, 2022                                              Agreement (MEA):                  (mMEA):
                                                       Dec 23, 2022                                                  Dec 14, 2022
                                                                                                                                                 July 18, 2022                 Dec 14, 2022
                                                  Loan Terms constitute the                                    OTHER AGREEMENT, THESE
                                                  entire Agreement among                                       DISPUTE RESOLUTION
    Merger                                        the parties with respect to                                  TERMS SHALL GOVERN THE
                                                  the subject matter hereof                                    RESOLUTION OF ANY AND
    Clause?
                                                  and supersedes any prior                                     ALL DISPUTES ARISING
    (cont’d)
                                                  negotiations,                                                FROM OR RELATED TO THE
                                                  understandings and                                           RELATIONSHIP BETWEEN
                                                  agreements.”                                                 YOU AND GEMINI, EXCEPT
                                                                                                               AS PROVIDED BELOW.”

                   “All modifications or          “All modifications or         “[W]e reserve the right to     “[W]e reserve the right to    “We reserve the right to    “We reserve the right to
                   amendments to this             amendments to this            change any of these terms      change any of these terms     update this Authorization   update this Authorization
                   Agreement shall be             Agreement shall be            and conditions at any          and conditions at any time.   Agreement from time to      Agreement from time to
                   effective only when            effective only when           time. But don’t worry, you     But don’t worry, you can      time, including the         time, including the
                   reduced to writing and         reduced to writing and        can always find the latest     always find the latest        Schedules attached          Schedules attached hereto,
                   signed by both parties         signed by both parties        version of this User           version of this User          hereto, and will notify     and will notify you of
                   hereto.”                       hereto.”                      Agreement here on this         Agreement here on this        you of material updates     material updates via email
 Modification
                                                                                page.”                         page.”                        via email or through our    or through our Program
                   “Custodian will promptly       “Custodian will promptly                                                                   Program user interface.     user interface. Your
                   update the Gemini Earn         update the Gemini Earn                                                                     Your continued              continued participation in
                   Platform to reflect any        Platform to reflect any                                                                    participation in our        our Program indicates your
                   change in the Offered          change in the Offered                                                                      Program indicates your      acceptance to the
                   Loan Terms                     Loan Terms                                                                                 acceptance to the           Authorization Agreement, as
                   communicated by                communicated by                                                                            Authorization               updated.”
                   Borrower to Custodian.”        Borrower to Custodian.”                                                                    Agreement, as updated.”


  “Dispute         “If a dispute arises out of    “If a dispute arises out of   “[S]ervice of a demand for     Before arbitration can be                                 Before arbitration can be
                   or relates to this             or relates to this            arbitration via Written        initiated:                                                initiated:
   Notice”
                   Agreement, or the breach       Agreement, or the breach      Notice constitutes
Requirements       thereof, and if said dispute   thereof, or the               sufficient written notice of   “[A] party who intends to                                 “[A] party who intends to
   before          cannot be settled through      relationship between the      the Demand for                 seek arbitration must first                               seek arbitration must first
 Arbitration       negotiation it shall be        Parties—past, present, or     Arbitration”                   send to the other a written                               send to the other a written
 (Note: “Dispute   finally resolved by            future—and if said dispute                                   Notice of Dispute (“Dispute                               Notice of Dispute (“Dispute
     Notice” is    arbitration”                   cannot be settled through                                    Notice”).”                                                Notice”).”
    sometimes                                     negotiation it shall be
“Demand Notice”    No waiting period              finally resolved by binding                                  “Any Dispute Notice to                                    “Any Dispute Notice to
  in some edited   specified                      arbitration”                                                 Gemini must be sent to                                    Gemini must be sent to
     language)                                                                                                 support@gemini.com”                                       support@gemini.com”
                                                  No waiting period
                                                  specified
                                                                                                3
                                    Case 1:22-cv-10922-NRB Document 14-4 Filed 01/13/23 Page 4 of 5

                                                                                                                                 Gemini Earn           Gemini Earn
                                          Modified Gemini Earn                                    Modified Gemini
     Note:          Gemini Earn Master                                   Gemini                                                Program Terms &      Program Terms &
                                             Master Loan                                          User Agreement
 bold added for   Loan Agreement (MLA):                          User Agreement (MUA):                                          Authorization    Authorization Agreement
   emphasis                               Agreement (mMLA):                                          (mMUA):
                      Dec 1, 2022                                     Sep 28, 2022                                            Agreement (MEA):           (mMEA):
                                             Dec 23, 2022                                          Dec 14, 2022
                                                                                                                               July 18, 2022           Dec 14, 2022
                                                                                             “[A]fter sending a Demand                           “[A]fter sending a Demand
                                                                                             Notice to Gemini, at                                Notice to Gemini, at
                                                                                             Gemini’s request you will                           Gemini’s request you will
                                                                                             personally participate in a                         personally participate in a
                                                                                             discussion by telephone                             discussion by telephone
                                                                                             with Gemini to discuss                              with Gemini to discuss
                                                                                             whether an agreement can                            whether an agreement can
                                                                                             be reached”                                         be reached”

                                                                                             If call requested, the 60-day                       If call requested, the 60-day
                                                                                             period begins only after the                        period begins only after the
  “Dispute                                                                                   discussion has occurred.                            discussion has occurred.
   Notice”
Requirements                                                                                 Dispute Notice must                                 Dispute Notice must
   (cont’d)                                                                                  include:                                            include:
                                                                                             • Personal information                              • Personal information
                                                                                             • Description of the                                • Description of the
                                                                                                Specific relief sought,                             Specific relief sought,
                                                                                                including damages, and                              including damages, and
                                                                                                basis for same                                      basis for same
                                                                                             • Signed statement                                  • Signed statement
                                                                                             • Notice verifying accuracy                         • Notice verifying accuracy
                                                                                                of Dispute Notice                                   of Dispute Notice
                                                                                                contents                                            contents
                                                                                             • Signed disclosure                                 • Signed disclosure
                                                                                                agreement                                           agreement

                                                                                             If claim is not resolved 60                         If claim is not resolved 60
                                                                                             days after a Demand Notice                          days after a Demand Notice
                                                                                             is received, party can then                         is received, party can then
                                                                                             commence arbitration                                commence arbitration
                                                                                             proceeding.                                         proceeding.



  Personal                                                       Arbitration may proceed     “[A]t Gemini’s request you                          “[A]t Gemini’s request you
                                                                 in the absence of any       will personally participate in                      will personally participate in
 Attendance
                                                                 party if that party has     a discussion”                                       a discussion”
                                                                 been given Written Notice
                                                                 of the arbitration, as      “If you are represented by                          “If you are represented by
                                                                 specified in this           counsel, you agree that you                         counsel, you agree that you
                                                                               4
                                        Case 1:22-cv-10922-NRB Document 14-4 Filed 01/13/23 Page 5 of 5

                                                                                                                                              Gemini Earn                    Gemini Earn
                                                Modified Gemini Earn                                           Modified Gemini
    Note:          Gemini Earn Master                                                Gemini                                                 Program Terms &               Program Terms &
                                                   Master Loan                                                 User Agreement
bold added for   Loan Agreement (MLA):                                       User Agreement (MUA):                                           Authorization             Authorization Agreement
  emphasis                                      Agreement (mMLA):                                                 (mMUA):
                       Dec 1, 2022                                                Sep 28, 2022                                             Agreement (MEA):                    (mMEA):
                                                    Dec 23, 2022                                                Dec 14, 2022
                                                                                                                                              July 18, 2022                  Dec 14, 2022
                                                                             Agreement and/or the         will personally attend the                                   will personally attend the
                                                                             Rules.                       telephone conference with                                    telephone conference with
 Personal                                                                                                 your counsel.”                                               your counsel.”
Attendance
  (cont’d)


                 Authorized Representative     December 23rd message:        “By clicking “I AGREE,”      “By clicking “I AGREE,”        “Your continued               “Your continued
                 signature.                    “If you have not already      during the account           during the account opening     participation in the          participation in the
                                               agreed to the new MLA         opening process, you         process, you agree and         Program following any         Program following any
                 “This Agreement may be        and you do not agree to       agree and understand to      understand to be legally       change or update shall        change or update shall
                 terminated by any Party       be bound by it, you should    be legally bound…”           bound…”                        constitute your               constitute your agreement
                 by providing thirty days'     not access or use Gemini                                                                  agreement to the              to the amended
                 written notice to the other   and you must send an          ”Whether or not you click    “Whether or not you click “I   amended Authorization         Authorization Agreement”
                 Parties. In the event of a    email from the email          “I AGREE,” if you sign up    AGREE,” if you sign up for     Agreement”
                 termination of this           address registered with       for an account and use       an account and use Gemini                                    “We will present you with
                 Agreement, any Loaned         your Gemini Account to        Gemini in any capacity or    in any capacity or manner,     “We will present you          each available Loan
                 Assets shall be redelivered   customer support              manner, you agree, by        you agree, by virtue of any    with each available Loan      Agreement for your
                 immediately and any fees      support@gemini.com            virtue of any such action,   such action, to be legally     Agreement for your            electronic signature through
                 owed shall be payable         within 7 days, saying that    to be legally bound…”        bound…”                        electronic signature          the Program user interface”
                 immediately.”                 you do not agree to the                                                                   through the Program
How bound?                                     new MLA”                                                   ADDED:                         user interface”               “You will be required to
                                               --                                                                                                                      acknowledge the terms of
                                               Authorized Representative                                  If you participate in Gemini   “You will be required to      each Loan electronically
                                               signature.                                                 Earn “By your participation    acknowledge the terms         before we may disburse
                                                                                                          in the Program and/or          of each Loan                  your Available Digital Assets
                                               ”This Agreement may be                                     acceptance of this             electronically before we      to a Borrower.”
                                               terminated by any Party                                    Agreement, you                 may disburse your
                                               by providing thirty days'                                  acknowledge that you have      Available Digital Assets to
                                               written notice to the other                                read, understand, and agree    a Borrower.”
                                               Parties. In the event of a                                 to the Authorization
                                               termination of this                                        Agreement, and any
                                               Agreement, any Loaned                                      modifications thereof, as of
                                               Assets shall be redelivered                                time you accept this
                                               immediately and any fees                                   Agreement.”
                                               owed shall be payable
                                               immediately”.



                                                                                            5
